   File No.
                                                                            STATE OF NORTH CAROLINA
                                                                                                                                                                              In The General Court Of Justice
                                                                                                                                                                                                                     1
                SEARCH WARRANT                                                   W_ak_e_ __ _ _· County
                                                                            ______                                                                                             District/Superior Court Division

                       IN THE MATTER OF
                                                                            To any officer with authority and jurisdiction to conduct the search authorized by this Search Warrant:
1628 Burgundy St. Apt. B
Raleigh, NC 27610
                                                                            I, the undersigned, find that there is probable cause to believe that the property and person described in the
                                                                            application on the reverse side and related to the commission of a crime is located as described in the
                                                                            application.

                                                                            You are commanded to search the premises, vehicle, person and other place or item described in the
Name Of Applicant                                                           application for the property and person in question. If the property and/or person are found , make the
Detective 0. I. Abdullah                                                    seizure and keep the property subject to Court Order and process the person according to law.
Name Of Additional Affiant(s)
                                                                            You are directed to execute th is Search Warrant within forty-eight (48) hours from the time ind icated on this
                     RETURN OF SERVICE                                      Warrant and make due return to the Clerk of the Issuing Court.
I certify that this Search Warrant was received and
                                                                            This Search Warrant is issued upon information furnished under oath or affirmation by the person(s) shown.
executed as follows:
Date Received                            Time Received
                                         t '2, ;e,Cj
                                         Time Executed
                                          ,i·:35 □ AM~M

                                                                                                                                               D District Ct. Judge D Superior Ct. Judge
                                                                             NOTE: When issuing a search warrant, the issuing official must retain a copy of the warrant and warrant application
______________ as commanded.                                                           and must promptly file them with the clerk. G.S. 15A-245(b).
  I seized the items listed on the attached
  inventory.                                                                 This Search Warrant was delivered to me on the date and at the time shown below when the Office of the
D I did not seize any items.                                                 Clerk of Superior Court is closed for the transaction of business. By signing below, I certify that I will deliver
D This Warrant WAS NOT executed within                                       this Search Warrant to the Office of the Clerk of Superior Court as soon as possible on the Clerk's next
  forty-eight (48) hours of the date and time of                             business day.
  issuance and I hereby return it not executed.
Name Of Officer Making Return (type or print)                              Date                 Time         D AM Name Of Magistrate (type or print)                          Signature Of Magistrate

  ()£4 ,   t1           Ic;l-,                                                                               □ PM
Signature Of f;_ff'j~~ M_al<)lg Return
                                                                            This Search Warrant was returned to the undersigned clerk on the date and time shown below.
 (JC • tJIU,(/Vr-
Department Or Agency Of Officer                   Incident Number         Date                  Time                  Name Of Clerk (type or print)                   Signature Of Clerk                     ODep.   csc
                                                                                                                                                                                                             OAsst. CSC
                                                                                                                                                                                                             Ocsc
                                                                            Ori ginal - File Copy - For Search of a Person, to Pers on from Whom Items Taken
                                                  Copy - For Search of Vehicle/Premises, to Owner or Person in Apparent Control; if No Such Person Present, Leave Copy Affixed Thereon
AOC-CR-11 9, R ev. 6/19                                       Case 5:22-cv-00068-BO Document
                                                                                        (Over) 32-2 Filed 04/29/22 Page 1 of 8
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STATE OF NORTH CAROLINA
WAKE COUNTY
                                                                                 '
                                                            IN THE GENERAL COURT OF JUSTICE
                                                            DISTRICT COURT DIVISION

IN THE MATTER OF: 1628 Burgundy St. Apt. B
                  Ra_Ieigb, NC 27610

                                                            ATTACHMENT TO APPLICATION FOR
                                                            SEARCH WARRANT BY:
                                                            Detective 0 . I. Abdullah
                                                            Date: 5/21/2020




                                   Description of Items to be Seized

1. Evidence of ownership or possession of premises located at 1628 Burgundy St. Apt. B Raleigh, NC
27610.
2. Controlled substances in violation of G.S. 90-95, including but not limited to heroin.
3. US Currency.
4. Firearms and ammunition.
5. Electronic Storage Devices used for the purpose of keeping records of drug sales.
6. Records of illegal drug activities, documents, photographs, letters, money, pagers,
   cell phones, and other evidence of drug trafficking.
7. Drug Paraphernalia, Manufacturing equipment used for manufacturing, packaging of and the sale of
controlled substances in violation ofN.C. G.S. 90-113.22.




                                  Description of Crimes

l.   Maintaining a Dwelling for the purpose of narcotics in violation of G.S. 90-95.
2.   Possession with intent to sell and/or deliver illegal controlled substances in violation of G.S. 90-95.
3.   Possession of controlled substance in violation of G.S. 90-95.
4.   Possession of Drug Paraphernalia in violation of G.S. 90-113.22.




SWORN TO AND SUBSCRIBED BEFORE ME

THIS THE 21 DAY OF MAY, 2020


               {4f.~                                                           APPLICANT



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      STATE OF NORTH CAROLINA                                 IN THE GENERAL COURT OF JUSTICE
      WAKE COUNTY                                             DISTRICT COURT DIVISION

      IN THE MATTER OF: 1628 Burgundy St. Apt. B
                        Raleigh, NC 27610

                                                              ATTACHMENT TO APPLICATION FOR
                                                              SEARCH WARRANT BY:
                                                              Detective 0. I. Abdu llah
                                                              Date: 5/21/2020




     The premise to be searched is 1628 Burgundy St. Apt. B Raleigh, NC 27610. The location to be searched
     is a two-story conventional style duplex with a crawl space. The exterior of the house is brown colored
     brick with a gray roof, white windows, and a red front door. The numbers 1628 is located to the right side
     of the front door in gold numbering on a black background. This is indicated as well in the picture shown
     above with a red arrow pointing to same.




             Directions from Southeast District Police Station located at 2800 Rock Quarry Rd

     From 2800 Rock Quarry Rd. go west on Rock Quarry Rd. toward Olde Birch Dr. and then stay straight to
     go onto S Raleigh Blvd. and then tum right onto Millbank St., and then take the first left onto Burgundy
     St. Stay straight on Burgundy St. until you reach 1628 Burgundy St. which will be on your right-hand
     side.




     SWORN TO AND SUBSCRIBED BEFORE ME

     TIDS THE 21 DAY OF


                                                                                APPLICANT
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STATE OF NORTH CAROLINA                                 IN THE GENERAL COURT OF .JUSTICE
WAKE COUNTY                                             DISTRICT COURT DIVISION

IN THE MATTER OF: 1628 Burgundy St. Apt. B
                  Raleigh, NC 27610

                                                            ATTACHMENT TO APPLICATION FOR
                                                            SEARCH WARRANT BY:
                                                            Detective 0. I. Abdullah
                                                            Date: 5/21/2020

                                             Introduction

This investigation concerns allegations of narcotics being sold/stored at 1628 Burgundy St. Apt. B
Raleigh, NC 27610 the residence to be searched. Based on the facts described herein and upon my
observations, training, and experience, probable cause exist that heroin is being sold/stored at 1628
Burgundy St. Apt. B Raleigh, NC 27610 and in violation of G.S. 90-95. I believe that probable cause
exists to conclude that the evidence described in this application probably is located at the places to be
searched as described herein.




                                     Probable Cause Affidavit

I, Detective 0. I. Abdullah, have been a Law Enforcement Officer with the Raleigh Police Department for
11 years. I am currently assigned to Drugs and Vice Team 1. I have received training in drug
enforcement through the Raleigh Police Department's Academy. I have also received training in Basic
Narcotic Investigation which is a 40-hour course that I have successfully completed and received a
certificate through Coastal Plain Law Enforcement Training Center at Wilson Community College.
Through my training and experience, I am familiar with the persons, practices, and with the appearance,
packaging, manufacturing, sales, and distribution of illegal controlled substances. I have conducted
numerous investigations that have led to the arrest of individuals for violations of the North Carolina
Controlled Substance Act G.S. 90-95. I am familiar with drug violations and the activity and evidence
associated with drugs such as drug dealers using vehicles for transportation of their drugs, street drug
transactions and drug houses.

Within the past 72 hours a confidential informant was utilized to purchase an amount of heroin from a
black male who goes by the name Marcus and same is residing at 1628 Burgundy St. Apt. B Raleigh, NC
27 610. According to the confidential informant, Marcus is selling heroin out of the apartment. I met with
this confidential informant at a predete1mine location in Raleigh, North Carolina and I searched the
confidential informant prior to the buy. No illegal contraband was located on his/her person. The
confidential informant was then given a previously recorded amount of U.S. Currency. The confidential
informant contacted the subject, Marcus by phone (919-457-6199) using a phone number that is
associated with the subject and was previously given to the confidential informant by same.
SWORN TO AND SUBSCRIBED BEFORE ME

THIS THE 21 DAY OF MAY, 2020

          fi).l.:5?
               MAGISTRATE~                                                    APPLICANT
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STATE OF NORTH CAROLINA                                  IN THE GENERAL COURT OF JUSTICE
WAKE COUNTY                                              DISTRICT COURT DIVISION

IN THE MATTER OF: 1628 Burgundy St. Apt. B
                  Raleigh, NC 27610

                                                         ATTACHMENT TO APPLICATION FOR
                                                         SEARCH WARRANT BY:
                                                         Detective 0. I. Abdullah
                                                         Date: 5/21/2020


After the confidential informant spoke to Marcus, the confidential informant then went to the subject's
apartment located at 1628 Burgundy St. Apt. B Raleigh, NC 27610. The buy was monitored using
electronic and physical surveillance. The confidential informant was then observed by detectives being
let into the residence by the target of this investigation, Marcus, and an amount of heroin was then
purchased from the subject for an amount of U.S. cun'ency. After the buy was completed, I met with the
confidential informant at a post meet buy location in Raleigh, North Carolina where I debriefed the
confidential infonnant about the buy and I recovered the contraband. This was a plastic baggie that
contained an amount of heroin. I searched the .confidential informant again, and no illegal contraband
was located on his/her person.

This confidential informant has just provided information to this detective that has led to the recovery of
narcotics. This source knows how drugs are packaged and are sold and is familiar with the common
street te1ms, and jargon associated with drug trafficking. This confidential informant has also provided
information to this detective in the past that has always been proven to be truthful and reliable, and that
information has led to many drug convictions.

Furthermore, I know through my training and experience that drug dealers use cell phones and other
electronic devices to communicate with buyers and drug suppliers. Drug dealers also store drug ledgers
and contacts including names and telephone numbers of buyers and drug sources on cell phones and
electronic devices. Drug dealers are also known to take photographs of drugs.




SWORN TO AND SUBSCRIBED BEFORE ME

THIS THE 21 DAY OF MAY, 2020



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                                                                            APPLICANT



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STATE OF NORTH CAROLINA                                   IN THE GENERAL COURT OF JUSTICE
WAKE COUNTY                                               DISTRICT COURT DIVISION

IN THE MATTER OF: 1628 Burgundy St. Apt. B
                  Raleigh, NC 27610

                                                          ATTACHMENT TO APPLICATION FOR
                                                          SEARCH WARRANT BY:
                                                          Detective 0. I. Abd ullah
                                                          Date: 5/21/2020

                                             Conclusion

This Detective feels that based on a controlled buy that was conducted within the past 72 hours at 1628
Burgundy St. Apt. B Raleigh, NC 27610., where an amount of heroin was purchased from a subject
named Marcus who i~ selling heroin from the apartment, and that the confidential informant knows how
drugs are packaged and are sold, and is familiar with the common street terms, and jargon associated with
drug trafficking. I believe that there is probable cause to warrant a search of 1628 Burgundy St. Apt. B
Raleigh, NC 27610. I request this search warrant be issued.




SWORN TO AND SUBSCRIBED BEFORE ME

THIS THE 21 DAY OF MAY, 2020


               ~e~
               GISTRATE~                                                    APPLICANT
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                                                                                                          ► File No.
 STATE OF NORTH CAROLINA
                KE_ _ _ _ _ County
 _ _ _ _ _V_1/_A_                                                                                                   In The General Court Of Justice
                                                                                                               D District D Superior Court Division
                           IN THE MATTER OF:
Name
                                                                                                    INVENTORY OF ITEMS SEIZED
Marcus Vanirvin                                                                                        PURSUANT TO SEARCH
                                                                                                                                              G.S. 15A-223, -254, -257
I, the undersigned officer, executed a search of:
Person, Premises Or Vehicle Searched                                                                                           Date Of Search

1620-B Burgundy St, Raleigh NC, 276 10
                                                                                                                                              05/21/2020


This search was made pursuant to

D 1. a search warrant issued b y : - - - - - - - -- -- - - - -- -- - -- - - - - - - - -- - - - - - -
(81 2. consent to search given by: _K_a_d_e_ja_T_a_m_i_
                                                      a_W_il l_i_a_
                                                                  m_s_ _ _ _ _ _ __ __ _ _ _ __ _ _ __ __ _ _ _ _ __

D 3. other legal justification for the search: - - - - -- -- - - - -- -- - - - - -- - - -- - - - - - - -
The following items were seized:
 -Digital scale
 -Cel l phone
 -. 3 80 caliber pistol
 -box of ammunition




                                                                            Original - File
                                             Copy - For Search by Warrant of a Person, to Person from Whom Items Taken
            Copy - For Search by Warrant of Vehicle/Premises, to Owner or Person in Apparent Control; if No Such Person Present, Leave Copy Affixed Thereon
                             Copies - For Search by Consent, to Person Giving Consent and Owner of Vehicle/Premises Searched, if Known
 AOC-CR-206, Rev. 3/16                                                          (Over)
                     Case 5:22-cv-00068-BO Document 32-2 Filed 04/29/22 Page 7 of 8
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 Items Seized Continued :




 [8] 1. I left a copy of this inventory with the person named below, who is:
       D a. the owner of the premises searched.
       Db the owner of the vehicle searched.
       De the person in apparent control of the premises searched.
       D d. the person in apparent contro l of the vehicle searched.
       [8] e. the person from whom the items were taken.

□ 2. As no person was present, I left a copy of this inventory:
       Da in the premises searched, identified on the reverse.
       Db in the vehicle searched, identified on the reverse.
                Name And Address Of Person To Whom A Copy Of This Inventory Was Delivered, If Any


                Marcus Vanirvin




 The law enforcement agency identified below will hold the seized property subject to court order.
                                                                                    Name Of Law Enforcement Officer (type or print)
 SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME                                          O.l. Abdul lah
Date              Name (type or print)                                              Signature Of Law Enforcement Officer
                                                                                     /).~.~
                  Signature                                                         Title Of Law Enforcement Officer
 O     Notary
                                                                                    Detective
                  Date My Commission Expires                                        Name And Address Of Agency
                                                                                     Raleigh Police Department
     SEAL         County Where Notarized                                             5240 Greens Dairy Rd
                                                                                     Raleigh, NC 27616

□ DeputyCSC          0 Assistant CSC D Clerk Of Superior Court D Magistrate
                                                    I      ACKNOWLEDGMENT OF RECEIPT                                   I              '
 I, the undersigned, received a copy of this inventory.
Date                                                                                Signature Of Person Receiving Inventory




  AOC-CR-206, Side Two, Rev. 3/16
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